                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                             )
                                                       ) Case No. 1:16-cr-062-TRM-CHS-03
  v.                                                   )
                                                       )
  ASHLEY UNDERWOOD                                     )

                                 MEMORANDUM AND ORDER

         ASHLEY UNDERWOOD, (“Defendant”) appeared for a hearing on September 16, 2020,
  in accordance with Rules 5 and 32.1 of the Federal Rules of Criminal Procedure on the Petition
  for a Warrant for an Offender Under Supervision (“Petition”) in the above matter.

          Defendant was placed under oath and informed of her constitutional rights. It was
  determined that Defendant wished to be represented by an attorney and she qualified for appointed
  counsel. Federal Defender Services of Eastern Tennessee was appointed to represent Defendant.
  It was also determined that Defendant had been provided with and reviewed with counsel a copy
  of the Petition.

         The Government moved that Defendant be detained without bail pending her revocation
  hearing before U.S. District Judge McDonough. Defendant waived her right to a preliminary
  hearing and a detention hearing.

         Based upon the Petition and waiver of preliminary hearing, the Court finds there is probable
  cause to believe Defendant has committed violations of her condition of supervised release as
  alleged in the Petition.

         Accordingly, it is ORDERED that:

          (1) Counsel for Defendant and the Government shall confer and make best efforts to submit
  to U.S. District Judge McDonough a proposed Agreed Order with respect to an appropriate
  disposition of the Petition for Warrant for Offender Under Supervision.

          (2) In the event counsel are unable to reach agreement with respect to an appropriate
  disposition of the Petition for Warrant for Offender Under Supervision, they shall request a hearing
  before U.S. District Judge McDonough.

          (3) The Government’s motion that Defendant be DETAINED WITHOUT BAIL pending
  further order from this Court is GRANTED.

         SO ORDERED.

         ENTER.                                 s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


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